Case 8:24-cv-00879-CEH-TPB-ALB      Document 61     Filed 10/31/24   Page 1 of 3 PageID
                                        611



                     IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 KETO NORD HODGES, et al.,

       Plaintiffs,

       v.                                     Case No. 8:24-cv-879

 KATHLEEN PASSIDOMO, et al.,

       Defendants.
 _____________________________/

            NOTICE OF WITHDRAWING THE SECRETARY’S
            MOTION FOR A RULE 26(C) PROTECTIVE ORDER

       Under Local Rule 3.09(a), and Middle District Discovery Rule I(A)(5),

 Defendant Secretary of State Cord Byrd notifies this Court that Plaintiffs and the

 Secretary have resolved their dispute over the location of the Secretary’s 30(b)(6)

 witness. The witness will now be deposed “by remote videoconference means.”

 Attachment 1 (notice). The Secretary withdraws his motion for a Rule 26(c) protective

 order, Doc.54, which also renders the November 4, 2024 hearing moot, Doc.59.




                                          1
Case 8:24-cv-00879-CEH-TPB-ALB   Document 61     Filed 10/31/24   Page 2 of 3 PageID
                                     612




  October 31, 2024                        /s/ Michael Beato
                                          Mohammad O. Jazil (FBN 72556)
                                          mjazil@holtzmanvogel.com
                                          Michael Beato (FBN 1017715)
                                          mbeato@holtzmanvogel.com
                                          zbennington@holtzmanvogel.com
                                          HOLTZMAN VOGEL BARAN
                                          TORCHINSKY & JOSEFIAK PLLC
                                          119 S. Monroe St. Suite 500
                                          Tallahassee, FL 32301
                                          (850) 270-5938

                                          Bradley R. McVay (FBN 79034)
                                          brad.mcvay@dos.myflorida.com
                                          Joseph S. Van de Bogart (FBN 84764)
                                          joseph.vandebogart@dos.myflorida.com
                                          Ashley Davis (FBN 48032)
                                          ashley.davis@dos.myflorida.com
                                          FLORIDA DEPARTMENT OF STATE
                                          R.A. Gray Building
                                          500 S. Bronough St.
                                          Tallahassee, FL 32399
                                          (850) 245-6536




                                      2
Case 8:24-cv-00879-CEH-TPB-ALB       Document 61     Filed 10/31/24    Page 3 of 3 PageID
                                         613



                              Certificate of Compliance

       I certify that this notice complies with the typography requirements of Local

 Rule 1.08, and that it complies with Local Rule 3.01(a)’s page requirements.

                                         /s/ Michael Beato

                                 Certificate of Service

       I certify that on October 31, 2024, the foregoing was electronically served on all

 counsel of record.

                                         /s/ Michael Beato




                                           3
